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 9
                        IN THE UNITED STATES DISTRICT COURT
10
                               FOR THE DISTRICT OF ARIZONA
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      Hualapai Indian Tribe of the Hualapai Indian
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      Reservation, Arizona,                              No. CV-24-08154-PCT-DJH
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                          Plaintiff,
14
15    v.                                                 FIRST AMENDED
                                                         COMPLAINT FOR VACATUR,
16    Debra Haaland, et al.,                             DECLARATORY AND
17                                                       INJUNCTIVE RELIEF
                          Defendants,
18
      and
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20    Arizona Lithium, Ltd.
21                        Intervenor Defendants.
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 1                                       INTRODUCTION
 2          1.     This suit challenges the U.S. Bureau of Land Management’s (“BLM”)
 3   approval of a lithium exploration project that threatens a medicinal spring sacred to the
 4   Hualapai Tribe called Ha’Kamwe’. For generations and through modern day, Tribal
 5   members have used Ha’Kamwe’ (also known as Cofer Hot Spring) for cultural and
 6   traditional purposes. It features prominently in tribal songs and stories about their history
 7   and connection to their land, including those known as the Salt Song Trail. Both the
 8   historic flow and temperature of the spring are important attributes for its traditional uses.
 9   Located at Cholla Ranch on lands recently taken into trust by the Department of the
10   Interior for the benefit of the Hualapai Tribe, Ha’Kamwe’ is recognized as a Traditional
11   Cultural Property (“TCP”) eligible for listing on the National Register of Historic Places.
12   On June 6, 2024, BLM issued a Decision Record (“DR”), Finding of No Significant
13   Impact (“FONSI”), and Final Environmental Assessment (“Final EA”) for the proposed
14   Project. On July 9, 2024, based on the DR, FONSI, and Final EA, BLM issued its
15   decision approving the company’s Plan of Operations, authorizing the Project.
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 1          2.     As approved, the Sandy Valley Exploration Project (Phase 3) (“Project”)
 2   will allow Arizona Lithium (“Company”) to drill 131 exploratory wells in search of
 3   lithium on BLM-controlled lands directly adjacent to the spring. These exploratory
 4   wells—some of which will be drilled close to Ha’Kamwe’—will penetrate deep below
 5   ground into the aquifer that supports the spring’s flows. The Project will also create
 6   noise, light, vibrations, and other disturbances that will degrade Ha’Kamwe’s character
 7   and harm Tribal members’ use of the spring for religious and cultural ceremonies. It will
 8   adversely impact other resources important to the Tribe too, like plants and wildlife. The
 9   area contains designated critical habitats for three threatened and endangered species: the
10   western yellow-billed cuckoo, southwestern willow flycatcher, and northern Mexican
11   gartersnake. Despite repeated efforts by the Tribe to protect its sacred property, BLM
12   ignored these harms and approved the Project. In doing so, it violated its mandates under
13   the National Environmental Policy Act (“NEPA”), the National Historic Preservation Act
14   (“NHPA”), and the Endangered Species Act (“ESA”). The Tribe brings suit under these
15   statutes to stop harm to Ha’Kamwe’ and other natural resources.
16          3.     The Hualapai Tribe repeatedly attempted to secure protection for
17   Ha’Kamwe’ and other resources important to the Tribe from impacts of this Project
18   throughout the NEPA process, including by becoming a Cooperating Agency, providing
19   comments about (among other things) the critical importance of Ha’Kamwe’ to Tribal
20   members and the impact of the Project on critical aspects of their culture, and attempting
21   to discuss its concerns with BLM.
22          4.     Among other requests, the Tribe asked BLM to consider alternatives to the
23   Project—like drilling fewer wells or moving them farther from the spring—to reduce its
24   negative effects. However, BLM refused to consider a reasonable range of alternatives to
25   Big Sandy, Inc.’s proposal, considering only denying or approving the full exploration
26   plan as proposed by the Company. As explained below, BLM violated NEPA by failing
27   to consider a middle-ground alternative that would address the Tribe’s concerns.
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 1          5.     NEPA also requires BLM to take a “hard look” at the environmental
 2   impacts of the exploration activity. Here, BLM failed to consider a recent study
 3   concluding that the Project is likely to cause impacts to Ha’Kamwe’. Instead, it relied on
 4   a single twenty-four-year-old study conducted for a different purpose to conclude that
 5   there will be no impact on Ha’Kamwe’. BLM’s failure to consider the most recent study,
 6   which focused specifically on the impacts of this Project on Ha’Kamwe’, violated its
 7   obligation to take a “hard look” at the Project’s impacts.
 8          6.     The NHPA requires BLM to consider the impact of its actions on historic
 9   properties. BLM concluded that the Project will have no effect on Ha’Kamwe’, even
10   though it is located very close to the Project, and even though BLM identified a list of
11   impacts to Ha’Kamwe’ in its Final EA for the Project. BLM attempted to avoid a finding
12   of adverse effect by simply labeling these impacts as temporary. BLM’s unsupported and
13   self-contradicted finding of no effect under the NHPA is arbitrary and capricious.
14          7.     BLM failed to reconsider its finding of no effect under the NHPA despite
15   requests from both the Tribe and the Advisory Council on Historic Preservation
16   (“ACHP”)—the expert agency on NHPA matters—to reconsider that finding in light of
17   impacts to Ha’Kamwe’ as set out in the Final EA.
18          8.     The ESA requires BLM to ensure that its actions are not likely to
19   jeopardize threatened or endangered species or their habitat. The Project sits immediately
20   adjacent to designated critical habitat for three threatened or endangered species: the
21   western yellow-billed cuckoo, southwestern willow flycatcher, and northern Mexican
22   gartersnake. Some of the Project’s drill holes would be less than 3,000 feet from this
23   habitat, and the Project’s main access road runs through and along it, sandwiching the
24   habitat between the main highway and the access road. The Project, including its noise,
25   light, vibrations, increased truck traffic, and other impacts, “may affect” these species.
26   50 C.F.R. § 402.14. BLM was therefore required to consult with the Service before
27   approving the project. Id.; 16 U.S.C. § 1536(a).
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 1          9.      In short, BLM approved the Project without appropriately considering a
 2   reasonable range of alternatives or taking a hard look at water resources under NEPA,
 3   without mitigation measures under the NHPA for Ha’Kamwe’ and other resources
 4   important to the Tribe, and without appropriately consulting with the U.S. Fish and
 5   Wildlife Services (“FWS”) thus violating NEPA, the NHPA, and the ESA.
 6          10.     This action is brought by the Hualapai Tribe against Debra Haaland,
 7   Secretary of the Interior, BLM; Ray Suazo, State Director of the BLM Arizona State
 8   Office; and Amanda Dodson, Field Office Manager of the BLM Kingman Field Office.
 9   The Hualapai Tribe seeks vacatur of the illegal agency decisions, as well as declaratory
10   and injunctive relief under the Administrative Procedure Act. Specifically, the Hualapai
11   Tribe challenges BLM’s June 6, 2024, DR, FONSI, and Final EA for the Project and
12   BLM’s July 9, 2024, Decision Letter approving the exploration plan and the required
13   financial guarantee, which authorized the Project to proceed. See U.S. Bureau of Land
14   Mgmt., Big Sandy Inc. Phase 3 Sandy Valley Exploration Project, DOI-BLM-AZ-C010-
15   2021-0029-EA (June 2024), https://eplanning.blm.gov/eplanning-ui/project/2012598/510.
16                                 JURISDICTION AND VENUE
17          11.     This action arises under NEPA, 42 U.S.C. § 4321 et seq., the NHPA, 54
18   U.S.C. § 300101 et seq., the ESA, 16 U.S.C. § 1536 et seq., and the APA, 5 U.S.C. §
19   500 et seq, which waives the Defendants’ sovereign immunity. The Court may issue a
20   declaratory judgment and further relief pursuant to 28 U.S.C. §§ 2201–2202, 16 U.S.C. §
21   1540(g), and 5 U.S.C. §§ 705–706.
22          12.     Jurisdiction is proper in this Court under 28 U.S.C. § 1331 (federal
23   question) and 28 U.S.C. § 1346 (United States as defendant). An actual justiciable
24   controversy exists between the parties within the meaning of 28 U.S.C. § 2201.
25          13.     Venue is proper in this district court pursuant to 28 U.S.C. § 1391(e)(1)
26   because officers of the United States are named defendants in their official capacities, and
27   the federal land that is the subject of this action lies in this district. Venue is also proper
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 1   in this Court pursuant to 28 U.S.C. § 1391(e)(1) because the decision to approve the
 2   Project occurred in BLM offices in this district.
 3          14.    This case should be assigned to the Prescott Division of this Court because
 4   the Project area lies within the counties of this Division and the challenged agency
 5   actions were taken within these counties. LR Civ. 77.1(a)
 6                                            PARTIES
 7          15.    Plaintiff Hualapai Tribe (“Tribe”) is a federally recognized Indian tribe
 8   located in northwestern Arizona. The Tribe is formally recognized by the Secretary of the
 9   Interior as enjoying the privileges and immunities that accompany tribal status. See
10   Indian Entities Recognized by and Eligible to Receive Services from the United States
11   Bureau of Indian Affairs, 89 Fed. Reg. 944 (Jan. 8, 2024). The Tribe currently has
12   approximately 2,300 enrolled members.
13          16.    Hualapai, or “People of the Tall Pines,” historically inhabited an area of up
14   to seven million acres, with archaeological evidence dating to 600 A.D. The Tribe’s
15   homeland stretches from the Grand Canyon southward to the Bill Williams and Santa
16   Maria Rivers and from the Black Mountains eastward to the San Francisco Peaks, located
17   near what is today Flagstaff, Arizona.
18          17.    The Tribe’s ancestral lands include the Big Sandy River Valley, where
19   Ha’Kamwe’ and the Project are located. The Big Sandy River Valley is a sacred
20   interconnected landscape for the Tribe. Ha’Kamwe’ is located on land known as Cholla
21   Canyon Ranch, which is held in trust for the Tribe. Pub. L. No. 117-349, § 12; 136 Stat.
22   6225, 6252 (2023). Cholla Canyon is directly adjacent to the Project site and will be
23   surrounded on three sides by proposed exploratory drilling.
24          18.    Tribal members use the area where the Project is situated for a variety of
25   traditional and cultural purposes, including gathering native plants and other materials,
26   observing and appreciating wildlife, including the endangered species that reside in the
27   area, and holding ceremonies that are central to their cultural life and traditions. The
28   Tribal members’ ability to continue these practices, especially with respect to the sacred


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 1   site of Ha’Kamwe’, will be severely adversely impacted by the proposed drilling activity.
 2   The Project risks depleting the flow and altering the temperature of Ha’Kamwe’, both of
 3   which are essential to the hot spring’s medicinal and sacred qualities. The Tribe’s
 4   members intend to continue to use the public lands on which the Project is located on an
 5   ongoing basis in the future although their experience would be negatively impacted by
 6   the Project.
 7          19.       The Tribe brings this action in its own capacity and as parens patriae on
 8   behalf of its members. The Tribe and its members’ cultural, spiritual, recreational,
 9   conservation, and wildlife preservation values have been, are being, and will continue to
10   be adversely and irreparably injured by Defendants’ failure to follow federal law. These
11   are actual, concrete injuries caused by the BLM’s refusal to comply with environmental
12   and cultural resource preservation laws. The Tribe’s injuries will be redressed by the
13   relief sought.
14          20.       The Tribe has a substantial interest in ensuring that BLM complies with all
15   applicable laws, including the procedural requirements of NEPA, the NHPA, the ESA,
16   and the APA. The Tribe was a Cooperating Agency under NEPA and submitted extensive
17   comments to BLM during both the public comment period for the Draft EA and as a
18   Cooperating Agency. The Tribe also filed a State Director Review request that was
19   denied. All of the issues and claims raised in this complaint were previously raised to the
20   agency and are properly before this Court for judicial review. The Tribe has exhausted its
21   administrative remedies.
22          21.       Defendant BLM is an administrative agency within the U.S. Department of
23   the Interior, responsible for managing federal lands and subsurface mineral estates
24   underlying federal, state, and private lands across the United States, including the land
25   and mineral estate at issue in this Project.
26          22.       Defendant Debra Haaland, sued in her official capacity, is the U.S.
27   Secretary of Interior. As Secretary, Ms. Haaland is the official ultimately responsible for
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 1   managing federal public lands and resources and in that capacity is responsible for
 2   implementing and complying with applicable laws and regulations.
 3          23.    Defendant Ray Suazo is sued in his official capacity as the State Director of
 4   BLM in Arizona. As State Director, Mr. Suazo is the official ultimately responsible for
 5   managing Arizona’s federal public lands and resources and in that capacity is responsible
 6   for implementing and complying with applicable laws and regulations.
 7          24.    Defendant Amanda Dodson, sued in her official capacity, is the Field
 8   Office Manager for BLM’s Kingman Field Office. As Field Office Manager, Ms. Dodson
 9   is responsible for administering and managing public lands and resources within the
10   Kingman Planning Area, including the lands and resources located within and around the
11   Project area. Ms. Dodson is the official responsible for reviewing staff recommendations
12   on the proposed action, reviewing the environmental assessment for the Project,
13   considering and rejecting alternatives, and ultimately approving the Project. Ms. Dodson
14   signed the July 9, 2024 decision approving the Project’s Plan of Operations.
15                               STATUTORY BACKGROUND
16      A. National Historic Preservation Act of 1966
17          25.    The NHPA established a national preservation program to protect historic
18   properties as a cooperative effort between the federal government and states, local
19   governments, Tribes, Native Hawaiian organizations, and private organizations. 54
20   U.S.C. § 300101.
21          26.    The NHPA charges the ACHP with the responsibility to “advise the
22   President and the Congress on matters relating to historic preservation,” and to “review
23   the policies and programs of Federal agencies and recommend” methods for harmonizing
24   those policies and programs with the NHPA. 16 U.S.C. § 470j(a)(1), (6).
25          27.    Section 106 of NHPA requires federal agencies to consider the impact of
26   their actions on historic properties. 54 U.S.C. § 306108. As a part of this process, the
27   agency must determine the area of potential effects, which is the geographic area or areas
28   within which an undertaking may directly or indirectly cause alterations in the character


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 1   or use of historic properties. 36 C.F.R. § 800.16(d). The agency must then determine
 2   whether the Project will affect any historic property within the area of potential effects.
 3   Id. § 800.4. An effect is defined as an alteration to the characteristics of a historic
 4   property qualifying it for inclusion in the National Register. Id. § 800.16(i).
 5          28.    If the agency concludes that a historic property will be affected, it must
 6   then determine whether the effects are adverse. Id. § 800.5. Effects are adverse the
 7   proposal “may alter, directly or indirectly, any of the characteristics of a historic property
 8   that qualify the property for inclusion in the National Register in a manner that would
 9   diminish the integrity of the property’s location, design, setting, materials, workmanship,
10   feeling, or association.” Id. § 800.5(a)(1). If adverse effects are found, then the agency
11   must explore measures to avoid, minimize, or mitigate adverse effects on historic
12   properties and reach a written agreement with the State or Tribal Historic Preservation
13   Officer on measures to resolve them. Id. § 800.6.
14          29.    Federal agencies must consult with any Tribe that “attaches religious and
15   cultural significance” to a historic property affected by an undertaking. 54 U.S.C. §
16   302706(b); 36 C.F.R. § 800.2(c)(2)(ii). This consultation must recognize the government-
17   to-government relationship between the Federal Government and Tribes and give the
18   Tribe the opportunity to “advise on the identification and evaluation of historic
19   properties, including those of traditional religious and cultural importance” and
20   “participate in the resolution of adverse effects.” 36 C.F.R. § 800.2(c)(2)(ii). Tribes
21   “possess special expertise in assessing the eligibility of historic properties that may
22   possess religious and cultural significance to them.” 36 C.F.R. § 800.4(c)(1).
23      B. National Environmental Policy Act
24          30.    NEPA is the “basic national charter for protection of the environment.” Ctr.
25   for Biological Diversity v. Bernhardt, 982 F.3d 723, 734 (9th Cir. 2020). The law has
26   “twin aims.” Balt. Gas & Elec. Co. v. Nat. Res. Def. Council, 462 U.S. 87, 97 (1983).
27   First, a federal agency must “consider every significant aspect of the environmental
28   impact of a proposed action”; and second, the agency must “inform the public that it has


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 1   indeed considered environmental concerns in its decisionmaking process.” Kern v. U.S.
 2   Bureau of Land Mgmt., 284 F.3d 1062, 1066 (9th Cir. 2002) (internal quotations and
 3   citations omitted). The Fiscal Responsibility Act (“FRA”) amended NEPA on June 3,
 4   2023. However, BLM’s review of the proposed Project began prior to FRA’s enactment,
 5   so the pre-FRA NEPA requirements apply.
 6          31.    To fulfill these purposes, NEPA requires that: (1) agencies take a “hard
 7   look” at the environmental impacts of their actions before the actions occur, thereby
 8   ensuring “that the agency, in reaching its decision, will have available, and will carefully
 9   consider, detailed information concerning significant environmental impacts,” and (2)
10   “the relevant information will be made available to the larger audience that may also play
11   a role in both the decisionmaking process and the implementation of that decision.”
12   Robertson v. Methow Valley Citizens Council, 490 U.S. 332, 349 (1989); “General
13   statements about ‘possible’ effects and ‘some risk’ do not constitute a ‘hard look’ absent
14   a justification regarding why more definitive information could not be provided.”
15   Neighbors of Cuddy Mountain v. U.S. Forest Serv., 137 F.3d 1372, 1380 (9th Cir. 1998).
16          32.    NEPA also requires an agency to prepare a detailed statement regarding the
17   alternatives to a proposed action. See 42 U.S.C. § 4332(C)(iii), (E). Consideration of
18   reasonable alternatives is necessary to ensure that the agency has taken into account all
19   possible approaches to, and potential environmental impacts of, a particular project.
20          33.    Courts review an EA “with two purposes in mind: to determine whether it
21   has adequately considered and elaborated the possible consequences of the proposed
22   agency action when concluding that it will have no significant impact on the
23   environment, and whether its determination that no EIS is required is a reasonable
24   conclusion.” Env’t Def. Ctr., 36 F.4th at 872 (9th Cir. 2022) (citation omitted).
25          34.    The Department of Interior’s implementing regulations, codified at 43
26   C.F.R. §§ 46.10–46.450, specify that EAs “must contain objective analyses that support
27   conclusions concerning environmental impacts.” 43 C.F.R. § 46.310(g).
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 1          35.    Additionally, the Department of Interior’s regulations require BLM to
 2   “consult, coordinate, and cooperate with . . . tribal governments . . . concerning the
 3   environmental effects of any Federal action” that is “within the jurisdictions or related to
 4   the interests” of the Tribe. 43 C.F.R. § 46.155.
 5      C. Endangered Species Act
 6          36.    The ESA is “the most comprehensive legislation for the preservation of
 7   endangered species ever enacted by any nation.” Tenn. Valley Auth. v. Hill, 437 U.S. 153,
 8   180 (1978). Its purpose is to “provide a means whereby the ecosystems upon which
 9   endangered species and threatened species depend may be conserved.” 16. U.S.C. §
10   1531(b).
11          37.    Section 7 is the “heart of the ESA.” W. Watersheds Project v.
12   Kraayenbrink, 632 F.3d 472, 495 (9th Cir. 2011). It requires each federal agency to
13   ensure that its actions are “not likely to jeopardize the continued existence of threatened
14   or endangered species or result in the destruction or adverse modification of designated
15   critical habitat.” 16 U.S.C. § 1536(a)(2). Consultation is required under Section 7 of the
16   ESA for any action that “may affect” a listed species or designated critical habitat. Karuk
17   Tribe of Cal. v. U.S. Forest Serv., 681 F.3d 1006, 1027 (9th Cir. 2012) (citations
18   omitted). See also 16. U.S.C. § 1536(c)(1); 50 C.F.R. § 402.14(a).
19          38.    The bar for engaging in Section 7 consultation is “low.” Kraayenbrink, 632
20   F.3d at 496. “Any possible effect, whether beneficial, benign, adverse or of an
21   undetermined character, triggers the requirement.” Karuk Tribe, 681 F.3d at 1027
22   (emphasis in original, citations omitted). In assessing potential impacts on listed species,
23   agencies must use “the best scientific and commercial data available.” 16 U.S.C. §
24   1536(c)(1).
25      D. Administrative Procedure Act (APA)
26          39.    The APA provides a right of review for any “person suffering legal wrong
27   because of agency action.” 5 U.S.C. § 702. Actions that are reviewable under the APA
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 1   include final agency actions “for which there is no other adequate remedy in a court.” Id.
 2   § 704.
 3            40.   Under the APA, reviewing courts shall “hold unlawful and set aside agency
 4   action, findings, and conclusions found to be . . . arbitrary, capricious, an abuse of
 5   discretion, or otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A).
 6            41.   While a court’s review of an agency decision under the arbitrary and
 7   capricious standard is narrow, an agency must nevertheless “examine the relevant data
 8   and articulate a satisfactory explanation for its action, including a ‘rational connection
 9   between the facts found and the choice made.’” Motor Vehicle Mfrs. Ass’n v. State Farm
10   Mutual Auto. Ins. Co., 463 U.S. 29, 43 (1983) (quoting Burlington Truck Lines, Inc. v.
11   U.S., 371 U.S. 156, 168 (1962)). In general, an agency decision is arbitrary and
12   capricious where “the agency has relied on factors which Congress has not intended it to
13   consider, entirely failed to consider an important aspect of the problem, offered an
14   explanation for its decision that runs counter to the evidence before the agency, or is so
15   implausible that it could not be ascribed to a difference in view or the product of agency
16   expertise.” Id.
17                                 FACTUAL BACKGROUND
18      A. Ha’Kamwe’ and the Interconnected Cultural Landscape
19            42.   The Hualapai Tribe holds sacred an interconnected cultural landscape in the
20   area surrounding Ha’Kamwe’ near Wikieup, Arizona. The landscape consists of
21   archaeological sites, traditional cultural places, the final resting place of Hualapai people,
22   native plants, wildlife, and water resources, including the sacred medicinal hot spring
23   Ha’Kamwe’.
24            43.   The site of Ha’Kamwe’, as well as the surrounding Big Sandy River
25   Valley, mountains, hills, and deserts, are part of the ancestral homelands of the Hualapai
26   Tribe.
27            44.   Ha’Kamwe’ is part of a sacred cultural landscape recounted in what is
28   known collectively as the Salt Spring Trail. Ha’Kamwe’ means “warm spring.” The


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 1   spring is specifically recounted by one of the Hualapai keepers of the Salt Song Trail
 2   cycle as part of the song cycle and documented in highly sensitive oral history interviews
 3   and audio recordings of Salt Songs that the Tribe keeps privately.
 4          45.    Since time immemorial, the Hualapai people have gone to Ha’Kamwe’ for
 5   healing and prayer, and to conduct ceremonies related to birth, young women’s coming
 6   of age, and other important life transitions.
 7          46.    In 2002, in connection with another unrelated proposal, see infra at 45-46.
 8   BLM and the Western Area Power Authority (“WAPA”), under the Department of
 9   Energy, determined that Ha’Kamwe’ is eligible for listing in the National Register of
10   Historic Places as a Traditional Cultural Property (“TCP”).
11          47.    Ha’Kamwe’ is located on a parcel of land held in trust by the Department
12   of the Interior for the Hualapai Tribe and known as Cholla Canyon Ranch. The Hualapai
13   Tribe uses the land at Cholla Canyon for ceremonial purposes, economic pursuits such as
14   horticulture, and tribal use or recreation.
15          48.    Cholla Canyon Ranch is directly adjacent to the proposed Project site and
16   would be surrounded on three sides by the proposed exploratory drilling.
17      B. Previous Projects and Exploration at the Project Site
18          49.    BLM first studied Ha’Kamwe’ and the aquifer that feeds it in 1999–2002
19   when assessing the since canceled Big Sandy Energy Project. Caithness Big Sandy, LLC
20   (“Caithness”) had planned to develop a gas-fired power plant in the area southeast of
21   Wikieup.
22          50.    BLM and WAPA conducted a draft Environmental Impact Statement and
23   Supplemental Analysis that included many relevant findings about the impact of
24   development in the area on Ha’Kamwe’ and the Hualapai Tribe’s cultural resources. See
25   U.S. Bureau of Land Mgmt. & Western Area Power Admin., Big Sandy Energy Project:
26   Draft Environmental Impact Statement, BLM/AZ/PL-01/004, DOE/EIS-0315 (June
27   2001); see also U.S. Bureau of Land Mgmt. & Western Area Power Admin., Big Sandy
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 1   Energy Project: Supplement Analysis, BLM/AZ/PL-01/004, DOE/EIS-0315 (May 2002)
 2   (“Supp. Analysis”).
 3          51.      It was as part of this process that BLM and WAPA determined Ha’Kamwe’
 4   to be a TCP eligible for listing on the National Register of Historic Places.
 5          52.      The Big Sandy Energy Project was ultimately abandoned, in part because
 6   of impacts to Ha’Kamwe’. See Supp. Analysis at 3-9 (“[T]he Hualapai Nation considers
 7   the spring a traditional cultural resource and the spring is a National Register-eligible
 8   property to which Project impacts cannot be satisfactorily mitigated . . . .”).
 9          53.      In 2018 and 2019, Hawkstone Mining, Ltd., an Australian company, under
10   their domestic subsidiary Big Sandy, Inc., conducted two phases of exploratory drilling
11   for lithium clay on BLM-managed public lands adjacent to Ha’Kamwe’.
12          54.      In 2021, Hawkstone Mining, Ltd. formally changed its name to Arizona
13   Lithium, Ltd.
14          55.      In Phase 1, the Company drilled 12 holes in the Project area. In Phase 2, it
15   drilled 37 holes in the Project area.
16          56.      BLM never notified or consulted with the Tribe prior to authorizing these
17   drilling operations.
18      C. Phase 3 Sandy Valley Exploration Project
19          57.      In September 2019, the Company, doing business under its previous name,
20   Big Sandy Inc., submitted an exploration plan to the BLM Kingman Field Office for the
21   Project, the Big Sandy Inc., Sandy Valley Exploration Project (Phase 3).
22          58.      The Project would include 131 drilling sites on BLM-managed public lands
23   to explore mining claims for lithium and poly-metal minerals. It would directly disturb 21
24   acres of public land, and the drill holes are expected to reach depths of approximately 300
25   feet into the aquifer.
26          59.      BLM waited until June 6, 2020, eight months after Big Sandy, Inc.
27   submitted its proposed plan of operations in September 2019, to contact the Hualapai
28   Tribe about the Project. BLM’s letter invited the Tribe to participate in an NHPA Section


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 1   106 consultation and requested the Tribe’s help in identifying cultural properties or other
 2   areas of concern that may be affected by the Project. Notably, BLM’s letter did not
 3   mention Ha’Kamwe’, even though the Project would surround the spring on three sides.
 4          60.    On June 29, 2020, the Tribe sent a letter accepting the invitation for
 5   consultation. The letter also informed BLM of Ha’Kamwe’s existence and status as a
 6   TCP, expressed concern over the Project’s effects on the spring, and requested
 7   Cooperating Agency status under NEPA. When BLM did not respond, the Tribe sent
 8   another letter dated November 2, 2020, raising these concerns again and requesting a
 9   response.
10          61.    On November 10, 2020, BLM formally determined that the Project would
11   not affect any historic properties for purposes of the NHPA. under 36 C.F.R. §
12   800.4(d)(1). It did so having defined an area of potential effects that cut out Cholla
13   Ranch, including Ha’Kamwe’.
14          62.    In April 2021, the Hualapai Tribal Council passed Resolution 24-2021, the
15   Hualapai Tribe Objection to the Sandy Valley Lithium Project. The resolution opposed
16   the Plan, the Sandy Valley Exploration Project, and any further disturbance of the sacred
17   cultural landscape by mining or exploration activities. The Inter-Tribal Association of
18   Arizona, which comprises 21 Tribal governments in Arizona, passed a similar resolution
19   the same month.
20          63.    The Hualapai Tribe submitted comments on the Draft EA on June 10, 2021,
21   and supplemental comments on July 9, 2021, both within the public comment period. The
22   Tribe’s comments highlighted how BLM failed to consult with the Tribe and failed to
23   analyze affected tribal interests, rights, and resources, including impacts on Ha’Kamwe’.
24          64.    The ACHP—which, as noted, is the expert agency on NHPA issues—sent a
25   letter to BLM on January 11, 2023, and again on May 31, 2024, urging BLM to revisit its
26   finding of no effect on cultural resources under the NHPA. In its May 31, 2024, letter the
27   ACHP, after reviewing the Draft EA, found “that there is the clear potential for effects on
28   the Ha’Kamwe’ historic property, including noise, vibration, and disruption to cultural


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 1   practices conducted by the Tribe.” Letter from Christopher Koeppel, Office of Federal
 2   Agency Program, Advisory Council on Historic Preservation to Amanda Dodson, Field
 3   Manager, Bureau of Land Mgmt., 2 (May 31, 2024). The BLM failed to respond to
 4   ACHP’s May 31, 2024, letter.
 5          65.    The ACHP explained how the proposed drilling activity could harm the
 6   spring and its historic character:
            [T]he characteristics of the historic property qualifying it for inclusion in
 7
            the National Register include (in addition to the physical components of the
 8          property, such as the spring itself and surrounding landscape features) the
            setting and feeling of Ha’Kamwe’ and its environs and the cultural
 9
            practices conducted there, both of which will be altered (albeit temporarily)
10          by the drilling equipment and ground disturbance proposed in close
            proximity.
11
12   ACHP May 31, 2024, letter at 2.

13          66.    The Tribe submitted comments as a Cooperating Agency on March 13,

14   2024, and May 24, 2024. As part of the Tribe’s March 2024 comments, the Tribe also

15   submitted a hydrology report.

16          67.    Though the Final EA correctly documented the above-noted effects on

17   Ha’Kamwe’ like noise, vibration, and disruption of cultural practices, it falsely concluded

18   that the Project will not impair the spring’s flows. BLM’s analysis in the Final EA lacks

19   credible evidence that the source of Ha’Kamwe’s water would not be impacted. BLM

20   relies on a single twenty-four-year-old study—which was conducted for the earlier

21   Caithness project and focused on a different outcome, using limited test holes—to

22   conclude that the Project will not impact Ha’Kamwe’. However, that study had a

23   different purpose. It was focused on proving a sufficient volume of groundwater existed

24   to satisfy the demand of a proposed electrical power-generating plant and did not

25   determine the source of groundwater for Ha’Kamwe’.

26          68.    Relying on that study, BLM made a factually flawed assumption when

27   concluding that the Project will not disturb Ha’Kamwe’s source. It asserted that the Big

28   Sandy aquifer is divided into an upper, a middle, and a lower aquifer and that drilling will


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 1   take place in the Upper Aquifer while the source of Ha’Kamwe’ is in the Lower Aquifer.
 2   This terminology was lifted from the abandoned Big Sandy Energy Project and was
 3   based on that project’s corporate interests in establishing groundwater sources as cooling
 4   water for the energy project. However, the aquifer divisions were based on observations
 5   from only a few deep wells that do not characterize the aquifer as a whole. Further, BLM
 6   admitted that water for Ha’Kamwe’ may also come from the Upper Aquifer.
 7          69.    In contrast, the hydrology report that the Tribe submitted specifically
 8   evaluated whether and how the Project would disrupt Ha’Kamwe’s flows—and found
 9   that disruptions are likely. That report also pointed out several critical issues regarding
10   the spring’s hydrology that BLM had not assessed in its own evaluation. BLM ignored
11   that evidence, however, focusing solely on the inadequate energy project study.
12          70.    Further, a U.S. Geological Survey report the Tribe submitted to BLM
13   shows that BLM’s characterization of the aquifer is wrong. Due to erosional
14   unconformities, the Big Sandy Formation varies widely in thickness, from measured
15   sections ranging from 57 to 245 feet. In addition, the energy project study shows that the
16   aquifer’s impermeable layers vary in thickness, undercutting BLM’s assumption that the
17   aquifer sits neatly in three distinct and uniform confined units. These variations also
18   indicate that the proposed borehole depths of 360 feet would penetrate thinner confining
19   layers and thus reach pressurized portions of the aquifer, potentially disrupting subsurface
20   flows that feed Ha’Kamwe’. BLM failed to explain how these variations affected its
21   assessment.
22          71.    BLM also failed to analyze or consider geologic faults and related impacts
23   on the source for Ha’Kamwe’. Faults and fractures can become conduits for water
24   between aquifers. The drilling proposed in the Project would encounter subsurface faults
25   and fractures, providing a pathway for the transmission of groundwater to or from the
26   Ha’Kamwe’ spring. The Final EA does not analyze the potential for exploration
27   boreholes to intersect faults and fractures, which would further impact the source of
28   groundwater for Ha’Kamwe’.


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 1          72.    The Final EA provides that if a water intersection occurs during the drilling
 2   process, then the hole will be plugged. However, there is no analysis in the Final EA that
 3   demonstrates this measure will be effective in mitigating harmful effects on Ha’Kamwe’.
 4   Further, there is no analysis regarding the potential impacts to hydrology by plugging
 5   these wet holes.
 6          73.    The incomplete and inaccurate hydrologic data in the Final EA undermines
 7   BLM’s finding that the Project will not harm Ha’Kamwe’. Final EA at 3. The only study
 8   to directly assess this question determined that harmful effects are likely—a reality BLM
 9   ignored.
10          74.    BLM also failed to consult with FWS regarding impacts of the Project on
11   three ESA-listed species in the area: southwestern willow flycatcher (endangered),
12   western yellow-billed cuckoo (threatened), and northern Mexican gartersnake
13   (threatened). The FWS advised BLM that it was required to consider these species in an
14   “effects analysis” to comply with the ESA. The FWS further advised that this analysis
15   should include the entire action area, which can extend outside the Project boundary.
16   However, the BLM’s biological evaluation excluded all of the listed species from
17   evaluation, finding that there is no habitat in the Project area. In taking that approach,
18   BLM ignored the species’ designated critical habitat immediately adjacent to the Project
19   site, ignored recent findings showing that the Project may in fact contain cuckoo habitat,
20   and failed to consider harms on all three species stemming from the Project’s noise, light,
21   vibration, traffic, and other effects which “may affect” the listed species and their habitat.
22          75.    The Tribe sent BLM (and the Secretary of the Interior) a letter on July 15,
23   2024 notifying the agency of its unlawful failure to consult and the Tribe’s intent to sue
24   over the BLM’s violation of the ESA. See 16 U.S.C. § 1540(g)(2)(A)(i) (citizen suit
25   provision). The letter is attached as Exhibit 1. BLM took no action in response to the
26   Tribe’s notice letter.
27                                 FIRST CLAIM FOR RELIEF
28      Violation of the NHPA: Erroneous Finding of No Historic Properties Affected


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 1          76.    The Tribe hereby realleges and incorporates by reference the facts and
 2   allegations set forth in all preceding paragraphs as if set forth in full herein.
 3          77.    The NHPA required BLM to identify the Project’s effects on “any historic
 4   property.” 54 U.S.C.A. § 306108. To do so, BLM was required to identify the “[a]rea of
 5   potential effects,” meaning “the geographic area or areas within which [the Project] may
 6   directly or indirectly cause alterations in the character or use of historic properties.” 36
 7   C.F.R. § 800.16(d).
 8          78.    Ha’Kamwe’ is a recognized TCP. A “traditional cultural property” is a
 9   historic property “that is eligible for inclusion in the National Register because of its
10   association with cultural practices or beliefs of a living community that (a) are rooted in
11   that community’s history, and (b) are important in maintaining the continuing cultural
12   identity of the community.” National Park Service, U.S. Dep’t of the Interior, National
13   Register Bulletin 38: Guidelines for Evaluating and Documenting Traditional Cultural
14   Properties, 1 (1998).
15          79.    Although BLM was aware of Ha’Kamwe’s existence, status as a TCP, and
16   its importance to the Tribe, BLM narrowly defined the area of potential effects to exclude
17   Cholla Ranch and Ha’Kamwe’, concluding that no historic properties will be affected.
18          80.    As the ACHP recognized, however, the Final EA contradicts this finding.
19   The EA expressly states that the Project will cause “visual effects” and “[n]oise and
20   vibration” that may, among other harms, “[d]isrupt[] . . . cultural practices at and/or near
21   Ha’Kamwe’.” Final EA at 15. After reviewing the Project’s EA, the ACHP concluded—
22   as did the Tribe—that “there is the clear potential for effects on the Ha’Kamwe’ historic
23   property, including noise, vibration, and disruption to cultural practices conducted by the
24   Tribe.” ACHP’s May 31, 2024 letter. These findings in the EA mean that BLM was
25   obligated to include in the area of potential effects for its NHPA analysis and make a
26   finding of “[h]istoric properties affected” under 36 C.F.R. § 800.4(d)(2).
27          81.    For these reasons, BLM’s narrow definition of the area of potential effects;
28   subsequent finding of “[n]o historic properties affected”; project approval; and the DR,


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 1   FONSI, and Final EA violate the NHPA and its implementing regulations and policies
 2   and are arbitrary, capricious, not in accordance with law, and without observance of the
 3   procedures required by law, within the meaning of the APA, 5 U.S.C. §706. BLM’s
 4   violation of law prejudices and adversely affects the Tribe’s rights and interests.
 5                                SECOND CLAIM FOR RELIEF
 6        Violation of NEPA: Failure to Consider a Reasonable Range of Alternatives
 7          82.    The Tribe hereby realleges and incorporates by reference the facts and
 8   allegations set forth in all preceding paragraphs as if set forth in full herein.
 9          83.    NEPA requires federal agencies to rigorously explore and objectively
10   evaluate all reasonable alternatives. Federal agencies must devote substantial treatment to
11   each alternative considered in detail.
12          84.    The Final EA unlawfully fails to consider a reasonable range of
13   alternatives. It considers only two alternatives: approving or denying the proposed
14   exploration plan in full. It failed to consider a middle-ground alternative that better
15   protects Tribal and environmental interests. BLM’s approach in the Final EA (1) ignores
16   other options for meeting the Project’s stated purpose and need and (2) lacks factual
17   support given the Final EA’s inadequate and superficial assessment of impacts on Tribal
18   interests.
19          85.    Due to the significant concerns that the Tribe has raised throughout this
20   process, BLM should have evaluated an alternative approving only one or two of the
21   three proposed drill sites; an alternative requiring relocation of drill sites farther from
22   Ha’Kamwe’, an alternative approving fewer total wells across the three drill sites; an
23   alternative involving less new road construction; and/or an alternative requiring stricter
24   controls on noise, light, and vibrations. Consideration of one or more such alternatives is
25   consistent with BLM’s own observation in the Final EA that the “decision to be made”
26   was to approve the plan, deny the plan, or approve the plan “subject to changes or
27   conditions necessary to meet” regulatory requirements. Final EA at 2.
28


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 1          86.    BLM’s issuance of the DR, FONSI, and Final EA and project approval
 2   violate NEPA and its implementing regulations and policies and are arbitrary, capricious,
 3   not in accordance with law, and without observance of the procedures required by law,
 4   within the meaning of the APA, 5 U.S.C. §706. BLM’s violation of law prejudices and
 5   adversely affects the Tribe’s rights and interests.
 6                                 THIRD CLAIM FOR RELIEF
 7     Violation of NEPA: Failure to Take a Hard Look at Impacts on Water Resources
 8          87.    The Tribe hereby realleges and incorporates by reference the facts and
 9   allegations set forth in all preceding paragraphs as if set forth in full herein.
10          88.    NEPA requires an agency preparing an EA to take a “hard look” at all
11   reasonably foreseeable direct, indirect, and cumulative effects before approving a
12   proposed action. 40 C.F.R. § 1508.1(i). These effects include impacts on natural
13   resources, historic values, and cultural values. 40 C.F.R. § 1508.1(i)(4).
14          89.    BLM failed to take a hard look at the direct, indirect, and cumulative
15   impacts of the Project on water resources, including the source for Ha’Kamwe’.
16          90.    BLM’s failure to take a hard look at the impacts of the Project on water
17   resources, including the source for Ha’Kamwe’ in the DR, FONSI, and Final EA and
18   project approval violate NEPA and its implementing regulations and policies and are
19   arbitrary, capricious, not in accordance with law, and without observance of the
20   procedures required by law, within the meaning of the APA, 5 U.S.C. § 706. BLM’s
21   violation of law prejudices and adversely affects the Tribe’s rights and interests.
22                                FOURTH CLAIM FOR RELIEF
23            Violation of ESA: Failure to Consult with Fish and Wildlife Service
24          91.    The Tribe hereby realleges and incorporates by reference the facts and
25   allegations set forth in all preceding paragraphs as if set forth in full herein.
26          92.    The ESA requires an agency to initiate formal consultation with the FWS if
27   its proposed action may affect listed species or critical habitat. 50 C.F.R. § 402.14; 16.
28   U.S.C. § 1536(a)(2).


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 1          93.     BLM failed to initiate consultation with the FWS for any of the three ESA-
 2   listed species present in the area.
 3          94.     BLM’s failure to initiate consultation with the FWS violates the ESA and is
 4   arbitrary, capricious and not in accordance with law. BLM’s violation of law prejudices
 5   and adversely affects the Tribe’s rights and interests.
 6                                    REQUEST FOR RELIEF
 7          Therefore, Plaintiff respectfully requests that this Court:
 8          A.      Declare that BLM violated NEPA in issuing its DR, FONSI, and Final EA
 9   and otherwise authorizing the Project;
10          B.      Declare that BLM violated the NHPA in issuing its DR, FONSI, and Final
11   EA and otherwise authorizing the Project;
12          C.      Declare that BLM violated the ESA by failing to consult with FWS;
13          D.      Order BLM to consult with FWS under Section 7 of the ESA regarding the
14   Project’s effects and prohibit implementation of BLM’s Project approval until BLM
15   complies with the ESA;
16          E.      Set aside and vacate BLM’s DR, FONSI, and Final EA and authorization of
17   the Project;
18          F.      Award the Tribe its reasonable attorneys’ fees and costs; and
19          G.      Grant such other and further relief as the Court deems just, equitable, and
20   proper.
21          Respectfully submitted this 14th day of December 2024.
22
23                                              /s/Laura Berglan
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24
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